
TATE, Justice.
I respectfully dissent: (1) The holding that a dependent woman is not a member of the decedent’s family for purposes of our workman’s compensation act, merely because she is not married to him, is an erroneous interpretation, for the reasons more fully stated by my dissenting opinion in Humphreys v. Marquette Casualty Co., 95 So.2d 872, 875 (La.App. 1st Cir. 1957); (2) The denial of compensation to the dependent lady living with the deceased wage earner represents an irrational and invidious legislative classification which offends equal protection guarantees of the federal constitution under interpretations thereof by the United States Supreme Court.
DIXON, J., dissents from the denial.
CALOGERO, J., is of the opinion the writ should be granted.
